                         United States District Court
                       Western District of North Carolina
                              Charlotte Division

    Kevin Alexander McDonald,         )              JUDGMENT IN CASE
                                      )
            Petitioner(s),            )                3:18-cv-00136-FDW
                                      )             3:16-cr-00218-FDW-DSC
                 vs.                  )
                                      )
               USA,                   )
           Respondent(s).             )

 DECISION BY COURT. This action having come before the Court and a decision having been
rendered;

IT IS ORDERED AND ADJUDGED that Judgment is hereby entered in accordance with the
Court’s October 1, 2020 Order.

                                               October 1, 2020




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